Case 3:12-cv-02099-JST   Document 120-6   Filed 10/25/13   Page 1 of 3




              EXHIBIT E
               Case 3:12-cv-02099-JST             Document 120-6          Filed 10/25/13      Page 2 of 3



From:                              Mathiowetz, Duane H. <DMathiowetz@schiffhardin.com>
Sent:                              Wednesday, September 25, 2013 7:44 PM
To:                                Lauren Nowierski
Cc:                                Justin Wilcox; Edward Terchunian; Robert Harrits; Pistorino, James C. (Perkins Coie)
Subject:                           RE: ASUS v. Round Rock Research, LLC, Civ. A. No. 3:12-2099 - Subpoena to Pixart USA
Attachments:                       PixArt Objections to Subpoena.pdf


Lauren:

This will confirm our conversation on September 13, 2013, that PixArt Imaging (U.S.A.), Inc. does not have possession,
custody or control of the documents requested in the January subpoena. Therefore, PixArt has not produced any
documents in response to the subpoena.

With respect to the deposition subpoena served on PixArt Imaging (U.S.A.) on September 12, 2013, I enclose PixArt
Imaging (U.S.A.)’s objections to the subpoena and the topics identified therein. Please note that my client has no
information pertaining to the deposition subpoena topics. We respectfully request that you withdraw the deposition
subpoena upon receipt of this email. If you do not withdraw it, or at a minimum agree that no appearance is necessary, we
will file a motion to quash and seek appropriate fees and costs.

If you want to discuss the subpoena any further, please do not hesitate to give me a call.

Regards,
Duane

                                                                                               Download vCard
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Duane H. Mathiowetz              One Market                               t 415.901.8645
Partner                          Spear Street Tower, Suite 3200           f 415.901.8701
                                 San Francisco, CA 94105                  e dmathiowetz@schiffhardin.com
                                 www.schiffhardin.com


From: Lauren Nowierski [mailto:LNowierski@desmaraisllp.com]
Sent: Thursday, September 19, 2013 4:12 PM
To: Mathiowetz, Duane H.
Cc: Justin Wilcox; Edward Terchunian; Robert Harrits
Subject: ASUS v. Round Rock Research, LLC, Civ. A. No. 3:12-2099 - Subpoena to Pixart USA




Duane:

Thanks again for agreeing to speak with us last week regarding Round Rock’s subpoena to Pixart USA.

Please confirm whether it is Pixart USA’s position that Pixart USA does not have access to any documents relating to
Pixart’s image sensor: PAS6311LT, as requested by the subpoena.

Please let us know Pixart USA’s position as soon as possible, but no later than next Wednesday, September 25, 2013.

Thanks very much,
Lauren

Lauren M. Nowierski
                                                              1
             Case 3:12-cv-02099-JST         Document 120-6        Filed 10/25/13      Page 3 of 3
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